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             1   Richard H. Klapper (pro hac vice)
                 (klapperr@sullcrom.com)
             2   Nicolas Bourtin (pro hac vice)
                 (bourtinn@sullcrom.com)
             3   SULLIVAN & CROMWELL LLP
                 125 Broad Street
             4   New York, New York 10004
                 Telephone: (212) 558-4000
             5   Facsimile: (212) 558-3588
             6   Brendan P. Cullen (SBN 194057)
                 (cullenb@sullcrom.com)
             7   Sverker K. Hogberg (SBN 244640)
                 (hogbergs@sullcrom.com)
             8   Ryan J. McCauley (SBN 264913)
                 (mccauleyr@sullcrom.com)
             9   SULLIVAN & CROMWELL LLP
                 1870 Embarcadero Road
        10       Palo Alto, California 94303
                 Telephone:     (650) 461-5600
        11       Facsimile:     (650) 461-5700
        12       Christopher M. Viapiano (pro hac vice)
                 (viapianoc@sullcrom.com)
        13       SULLIVAN & CROMWELL LLP
                 1700 New York Avenue, N.W., Suite 700
        14       Washington, D.C. 20006
                 Telephone:    (202) 956-6985
        15       Facsimile:    (202) 956-7056
        16       Counsel for Defendant Wells Fargo & Company
        17       [Additional Counsel on Signature Page]
        18
                                               UNITED STATES DISTRICT COURT
        19
                                             NORTHERN DISTRICT OF CALIFORNIA
        20

        21
                 GARY HEFLER, MARCELO MIZUKI, GUY     )            Case No. 3:16-cv-05479-JST
        22       SOLOMONOV, and UNION ASSET           )
                 MANAGEMENT HOLDING AG, Individually  )            STIPULATION AND [PROPOSED]
        23       and on Behalf of All Others Similarly Situated,
                                                      )            ORDER REGARDING INITIAL CASE
                                                      )            MANAGEMENT CONFERENCE
        24                            Plaintiffs,     )
                                                      )            The Hon. Jon S. Tigar
        25             vs.                            )
                                                      )
        26       WELLS FARGO & COMPANY, JOHN G.       )
                 STUMPF, JOHN R. SHREWSBERRY, CARRIE )
        27       L. TOLSTEDT, TIMOTHY J. SLOAN, DAVID )
                 M. CARROLL, DAVID JULIAN, HOPE A.    )
        28
  SULLIVAN
     &
CROMWELL LLP                                                                STIPULATION AND [PROPOSED] ORDER
                                                                                      CASE NO. 3:16-CV-05479-JST
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                 HARDISON, MICHAEL J. LOUGHLIN, AVID )
             1   MODJTABAI, JAMES M. STROTHER, JOHN D. )
                 BAKER II, JOHN S. CHEN, LLOYD H. DEAN, )
             2   ELIZABETH A. DUKE, SUSAN E. ENGEL,     )
                 ENRIQUE HERNANDEZ JR., DONALD M.       )
             3   JAMES, CYNTHIA H. MILLIGAN, FEDERICO )
                 F. PEÑA, JAMES H. QUIGLEY, JUDITH M.   )
             4   RUNSTAD, STEPHEN W. SANGER, SUSAN G. )
                 SWENSON, and SUZANNE M. VAUTRINOT, )
             5                                          )
                                      Defendants.       )
             6                                          )
             7                  WHEREAS, on January 12, 2017, the Clerk of the Court filed a Clerk’s Notice
             8   Continuing Case Management Conference (ECF No. 65), which reset the Initial Case Management
             9   Conference (“Initial CMC”) from January 25, 2017 to September 27, 2017;
        10                      WHEREAS, on June 19, 2017, Defendants filed motions to dismiss Plaintiffs’
        11       Consolidated Class Action Complaint for Violations of the Federal Securities Laws with a noticed
        12       hearing date of October 26, 2017 (ECF Nos. 135, 138, 139, 142, 143, 145, 147, 153) (the “Motions to
        13       Dismiss”);
        14                      WHEREAS, on September 20, 2017, in response to the parties’ request, the Clerk of the
        15       Court filed a Clerk’s Notice Continuing Case Management Conference (ECF No. 179), which reset the
        16       Initial CMC from September 27, 2017 to November 15, 2017, so that it would be scheduled after the
        17       October 26, 2017 hearing on the Motions to Dismiss;
        18                      WHEREAS, on October 10, 2017, the Clerk of the Court filed a Clerk’s Notice
        19       Continuing Motion Hearings (ECF No. 195), which reset the hearing date for the Motions to Dismiss
        20       from October 26, 2017 to November 7, 2017;
        21                      WHEREAS, the parties have met and conferred and believe that the interests of judicial
        22       efficiency and economy would be best served by continuing the Initial CMC until after the Court has
        23       heard and issued an order on the Motions to Dismiss; and
        24                      WHEREAS, the parties jointly called the Clerk of the Court on October 25, 2017 to
        25       request a continuance of the Initial CMC and were asked to submit their request in writing.
        26                      NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, between Lead
        27       Plaintiff, by and through its counsel, and Defendants, by and through their counsel, that:
        28
  SULLIVAN                                                        1
     &
CROMWELL LLP                                                                        STIPULATION AND [PROPOSED] ORDER
                                                                                              CASE NO. 3:16-CV-05479-JST
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             1                  1.      The Initial CMC currently set for November 15, 2017, and all related deadlines,

             2   are vacated.

             3                  2.      The Initial CMC will be rescheduled to a date to be determined, subject to the

             4   Court’s availability and convenience, that is at least 28 days after the Court has issued an order on the

             5   Motions to Dismiss.

             6
                 Dated: October 25, 2017
             7
                                                                       /s/ Brendan P. Cullen
             8                                                        Brendan P. Cullen (SBN 194057)
                                                                      Sverker K. Hogberg (SBN 244640)
             9                                                        Ryan J. McCauley (SBN 264913)
                                                                      SULLIVAN & CROMWELL LLP
        10                                                            1870 Embarcadero Road
                                                                      Palo Alto, California 94303
        11                                                            Telephone: (650) 461-5600
                                                                      Facsimile: (650) 461-5700
        12
                                                                      Richard H. Klapper (pro hac vice)
        13                                                            Nicolas Bourtin (pro hac vice)
                                                                      SULLIVAN & CROMWELL LLP
        14                                                            125 Broad Street
                                                                      New York, New York 10004
        15                                                            Telephone: (212) 558-4000
                                                                      Facsimile: (212) 558-3588
        16
                                                                      Christopher M. Viapiano (pro hac vice)
        17                                                            SULLIVAN & CROMWELL LLP
                                                                      1700 New York Avenue, N.W., Suite 700
        18                                                            Washington, D.C. 20006
                                                                      Telephone: (202) 956-6985
        19                                                            Facsimile: (202) 956-7056
        20                                                            Counsel for Defendant Wells Fargo &
                                                                      Company
        21

        22       Dated: October 25, 2017

        23                                                             /s/ Grant P. Fondo
                                                                      Grant P. Fondo (SBN 181530)
        24                                                            (gfondo@goodwinlaw.com)
                                                                      Lloyd Winawer (SBN 157823)
        25                                                            Nicholas A. Reider (SBN 296440)
                                                                      GOODWIN PROCTER LLP
        26                                                            135 Commonwealth Drive
                                                                      Menlo Park, CA 94025
        27                                                            Telephone: (650) 752-3100
                                                                      Facsimile: (650) 853-1038
        28
  SULLIVAN                                                        2
     &
CROMWELL LLP                                                                         STIPULATION AND [PROPOSED] ORDER
                                                                                               CASE NO. 3:16-CV-05479-JST
                         Case 3:16-cv-05479-JST Document 200 Filed 10/25/17 Page 4 of 8




             1                                             Richard M. Strassberg (pro hac vice)
                                                           (rstrassberg@goodwinlaw.com)
             2                                             GOODWIN PROCTER LLP
                                                           The New York Times Building
             3                                             620 Eighth Avenue
                                                           New York, New York 10018-1405
             4                                             Telephone: (212) 813-8800
                                                           Facsimile: (212) 355-3333
             5
                                                           Counsel for Defendant John G. Stumpf
             6

             7   Dated: October 25, 2017

             8                                              /s/ Ismail Ramsey
                                                           Katharine Ann Kates (SBN 155534)
             9                                             (katharine@ramsey-ehrlich.com)
                                                           Ismail Ramsey (SBN 189820)
        10                                                 Miles Ehrlich (SBN 237954)
                                                           RAMSEY & EHRLICH LLP
        11                                                 803 Hearst Avenue
                                                           Berkeley, California 94710
        12                                                 Telephone: (510) 548-3600
                                                           Facsimile: (650) 291-3060
        13
                                                           Counsel for Defendant John R.
        14                                                 Shrewsberry

        15
                 Dated: October 25, 2017
        16
                                                            /s/ Enu A. Mainigi
        17                                                 Enu A. Mainigi (pro hac vice)
                                                           (emainigi@wc.com)
        18                                                 Leslie Cooper Vigen (pro hac vice)
                                                           WILLIAMS & CONNOLLY LLP
        19                                                 725 Twelfth Street N.W.
                                                           Washington, DC 20005
        20                                                 Telephone: (202) 434-5000
                                                           Facsimile: (202) 434-5029
        21
                                                           Jeffrey E. Faucette (SBN 193066)
        22                                                 (jeff@skaggsfaucette.com)
                                                           SKAGGS FAUCETTE LLP
        23                                                 One Embarcadero Center, Suite 500
                                                           San Francisco, CA 94111
        24                                                 Telephone: (415) 315-1669
                                                           Facsimile: (415) 433-5994
        25
                                                           Counsel for Defendant Carrie L. Tolstedt
        26
        27

        28
  SULLIVAN                                             3
     &
CROMWELL LLP                                                              STIPULATION AND [PROPOSED] ORDER
                                                                                    CASE NO. 3:16-CV-05479-JST
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                 Dated: October 25, 2017
             1
                                                            /s/ Cristina C. Arguedas
             2                                             Cristina C. Arguedas (SBN 87787)
                                                           (arguedas@achlaw.com)
             3                                             Laurel L. Headley (SBN 152306)
                                                           Ted W. Cassman (SBN 98932)
             4                                             ARGUEDAS, CASSMAN & HEADLEY LLP
                                                           803 Hearst Avenue
             5                                             Berkeley, CA 94710
                                                           Telephone: (510) 845-3000
             6                                             Facsimile: (510) 845-3001
             7                                             Counsel for Defendant Michael J. Loughlin
             8
                 Dated: October 25, 2017
             9
                                                            /s/ Nanci L. Clarence
        10                                                 Nanci L. Clarence (SBN 12286)
                                                           (nclarence@clarencedyer.com)
        11                                                 Josh A. Cohen (SBN 217853)
                                                           Adam F. Shearer (SBN 279073)
        12                                                 CLARENCE, DYER & COHEN LLP
                                                           899 Ellis Street
        13                                                 San Francisco, CA 94109
                                                           Telephone: (415) 749-1800
        14                                                 Facsimile: (415) 749-1694

        15                                                 Counsel for Defendant Timothy J. Sloan

        16
                 Dated: October 25, 2017
        17
                                                            /s/ Timothy P. Crudo
        18                                                 Timothy P. Crudo (SBN 143835)
                                                           (tcrudo@coblentzlaw.com)
        19                                                 COBLENTZ PATCH DUFFY & BASS LLP
                                                           One Montgomery Street, Suite 3000
        20                                                 San Francisco, CA 94104
                                                           Telephone: (415) 677-5219
        21                                                 Facsimile: (415) 989-1663

        22                                                 Counsel for Defendant David Julian

        23

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  SULLIVAN                                             4
     &
CROMWELL LLP                                                              STIPULATION AND [PROPOSED] ORDER
                                                                                    CASE NO. 3:16-CV-05479-JST
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                 Dated: October 25, 2017
             1
                                                            /s/ C. Brandon Wisoff
             2                                             Douglas R. Young (State Bar No. 073248)
                                                           (dyoung@fbm.com)
             3                                             C. Brandon Wisoff (State Bar No. 121930)
                                                           (bwisoff@fbm.com)
             4                                             Janice W. Reicher (State Bar No. 287591)
                                                           Claire M. Johnson (State Bar No. 305141)
             5                                             FARELLA BRAUN & MARTEL LLP
                                                           235 Montgomery Street
             6                                             San Francisco, CA 94104
                                                           Telephone: (415) 954-4400
             7                                             Facsimile: (415) 954-4488
             8                                             Counsel for Defendant
                                                           Avid Modjtabai
             9

        10

        11       Dated: October 25, 2017

        12                                                  /s/ Mary G. McNamara
                                                           Mary G. McNamara (SBN 147131)
        13                                                 (mary@smllp.law)
                                                           Ed Swanson (SBN 159859)
        14                                                 (ed@smllp.law)
                                                           SWANSON & MCNAMARA LLP
        15                                                 300 Montgomery Street, Suite 1100
                                                           San Francisco, CA 94104
        16                                                 Telephone: (415) 477-3800
                                                           Facsimile: (415) 477-9010
        17
                                                           Counsel for Defendant Hope A. Hardison
        18
        19       Dated: October 25, 2017

        20                                                  /s/ Walter F. Brown
                                                           Walter F. Brown (SBN 130248)
        21                                                 (wbrown@orrick.com)
                                                           James N. Kramer (SBN 154709)
        22                                                 (jkramer@orrick.com)
                                                           ORRICK, HERRINGTON & SUTCLIFFE LLP
        23                                                 The Orrick Building
                                                           405 Howard Street, San Francisco 94105
        24                                                 Telephone: (415) 773-5995

        25                                                 Counsel for Defendants David M. Carroll and
                                                           James M. Strother
        26
        27

        28
  SULLIVAN                                             5
     &
CROMWELL LLP                                                             STIPULATION AND [PROPOSED] ORDER
                                                                                   CASE NO. 3:16-CV-05479-JST
                          Case 3:16-cv-05479-JST Document 200 Filed 10/25/17 Page 7 of 8



                 Dated: October 25, 2017
             1
                                                                      /s/ Jordan Eth
             2                                                       Jordan Eth (SBN 121617)
                                                                     (jeth@mofo.com)
             3                                                       Morrison & Foerster LLP
                                                                     425 Market Street,
             4                                                       San Francisco, CA 94105
                                                                     Telephone: (415) 268-7126
             5                                                       Facsimile: (415) 268-7522
             6                                                       Counsel for Defendants John D. Baker II,
                                                                     John S. Chen, Lloyd H. Dean, Elizabeth A.
             7                                                       Duke, Susan E. Engel, Enrique Hernandez
                                                                     Jr., Donald M. James, Cynthia H. Milligan,
             8                                                       Federico F. Peña, James H. Quigley,
                                                                     Judith M. Runstad, Stephen W. Sanger,
             9                                                       Susan G. Swenson, and Suzanne M.
                                                                     Vautrinot
        10

        11
                 Dated: October 25, 2017                          /s/ Salvatore Graziano
        12                                                        Salvatore Graziano (pro hac vice)
                                                                  (Salvatore@blbglaw.com)
        13                                                        Adam Wierzbowski (pro hac vice)
                                                                  (Adam@blbglaw.com)
        14                                                        Rebecca Boon (pro hac vice)
                                                                  (Rebecca.Boon@blbglaw.com)
        15
                                                                  Angus F. Ni (pro hac vice)
        16                                                        (Angus.Ni@blbglaw.com)
                                                                  BERNSTEIN LITOWITZ BERGER
        17                                                               & GROSSMANN LLP
                                                                  1251 Avenue of the Americas, 44th Floor
        18                                                        New York, NY 10020
        19                                                        Telephone: (212) 554-1400
                                                                  Facsimile: (212) 554-1444
        20
                                                                  Lead Counsel for Lead Plaintiff and the Class
        21

        22
                                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
        23
                               In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this
        24

        25       document has been obtained from the signatories.

        26
                 DATED: October 25, 2017                                  /s/ Brendan P. Cullen
        27                                                                    Brendan P. Cullen
        28
  SULLIVAN                                                       6
     &
CROMWELL LLP                                                                        STIPULATION AND [PROPOSED] ORDER
                                                                                              CASE NO. 3:16-CV-05479-JST
                         Case 3:16-cv-05479-JST Document 200 Filed 10/25/17 Page 8 of 8




             1                                         ORDER
             2   PURSUANT TO STIPULATION IT IS SO ORDERED.
             3

             4   Dated: October 25, 2017
                                                              THE HONORABLE JON S. TIGAR
             5                                                UNITED STATES DISTRICT JUDGE
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  SULLIVAN
     &
CROMWELL LLP
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                                                                      STIPULATION AND [PROPOSED] ORDER
                                                                                CASE NO. 3:16-CV-05479-JST
